                                                                              Motion GRANTED.
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
V.                                          )       CASE NO. 3:10-00163
                                            )       JUDGE TRAUGER
MONTEZ HALL, ET AL.                         )


     DEFENDANT MONTEZ HALL’S MOTION TO ADOPT CERTAIN MOTIONS IN
                LIMINE FILED BY OTHER CODEFENDANTS

       Comes now the Defendant, Montez Hall, through undersigned counsel and hereby moves

the Court to adopt the following Motions in Limine filed by Defendant Wilson in this matter.

       1.     Motion in Limine number 6 (Rumor/Word on the Street)

       2.     Motion in Limine number 7 (photograph of Brandon Mohammed in coffin).



                                            Respectfully Submitted,




                                            s/ Jeffery S. Frensley
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